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          EXHIBIT 38
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 1                           UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
 2

 3
        UNITED STATES OF AMERICA,               )
 4                         Plaintiff            )
                                                )
 5      vs.                                     ) No. 1-19-CR-10080
                                                )
 6      GAMAL ABDELAZIZ and JOHN                )
        WILSON,                                 )
 7                         Defendants.          )
                                                )
 8                                              )

 9

10
                    BEFORE THE HONORABLE NATHANIEL M. GORTON
11                         UNITED STATES DISTRICT JUDGE
                                JURY TRIAL - DAY 12
12

13
                   John Joseph Moakley United States Courthouse
14                               Courtroom No. 4
                                One Courthouse Way
15                         Boston, Massachusetts 02210

16

17                                September 27, 2021
                                      9:09 a.m.
18

19

20
                           Kristin M. Kelley, RPR, CRR
21                            Kathy Silva, RPR, CRR
                             Official Court Reporter
22                 John Joseph Moakley United States Courthouse
                          One Courthouse Way, Room 3209
23                         Boston, Massachusetts 02210
                            E-mail: kmob929@gmail.com
24
                   Mechanical Steno - Computer-Aided Transcript
25
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      1       A.    I was introduced to the firm by a colleague of mine.

      2       Q.    When you say "the firm," are you referring to Hyannisport

      3       Capital?

      4       A.    Yes.

      5       Q.    And did you begin working for Hyannisport Capital?

      6       A.    I did.

      7       Q.    Approximately when did you work for Hyannisport Capital?

      8       A.    That was March of 2011.

      9       Q.    What work did do you?

11:44 10      A.    Bookkeeping and preparation of the tax return for the

     11       corporation.

     12       Q.    For how many years did you prepare Hyannisport Capital's

     13       tax return?

     14       A.    I worked for Hyannisport Capital until March 2019.

     15       Q.    What kind of return did Hyannisport Capital file?

     16       A.    It's an S corporation income tax return.

     17       Q.    What is an S corporation?

     18       A.    An S corporation is a -- what's known as a pass-through

     19       entity.    The S corporation pays no federal tax itself, unlike a

11:45 20      regular corporation that would pay tax on its own income.

     21       Instead, the income and deductions are passed through to the

     22       shareholders and they pay tax on the income on their individual

     23       return.

     24       Q.    How many shareholders did Hyannisport Capital have during

     25       the time you were preparing its tax returns?
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      1       A.    One.

      2       Q.    Who was that shareholder?

      3       A.    Mr. Wilson.

      4       Q.    On whose return was Hyannisport Capital income reported?

      5       A.    Mr. Wilson's.

      6       Q.    Did you ever prepare Mr. Wilson's personal taxes?

      7       A.    I did not.

      8       Q.    Why not?

      9       A.    I wasn't hired to do that.

11:46 10      Q.    When it came time to prepare Hyannisport Capital's

     11       returns, did you have a typical process that you followed?

     12       A.    Yes, I did.

     13       Q.    What was that process?

     14       A.    I would either phone or e-mail the administrative

     15       assistant for Hyannisport Capital and either discuss with her

     16       or put in an e-mail a list of standard documentation that I

     17       needed.

     18                    I would also ask for a copy of the QuickBooks file,

     19       the electronic accounting system, and I would prepare an

11:46 20      engagement letter to send to the client.

     21       Q.    Who was the administrative assistant that you contacted?

     22       A.    Debbie Rogers.

     23       Q.    What was the standard documentation you requested?

     24       A.    It was typically -- the most common documentation I

     25       requested was backup for asset and liability accounts.
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      1       Q.     And during the time that Debbie was working out of the

      2       Atherton, was that the normal corporate office for mail, for

      3       her to sit and do work and take phone calls and things of that

      4       nature?

      5       A.     Yes, it was.

      6       Q.     You told us you provided two services, you did bookkeeping

      7       and you prepared the tax return, correct?

      8       A.     That's correct.

      9       Q.     What did the bookkeeping involve?

12:18 10      A.     The bookkeeping typically involved during the year from

     11       time to time Debbie would have questions about how to record

     12       certain transactions, but most of the work was done at the year

     13       end.

     14       Q.     And what would you do at year end?

     15       A.     It's a typical process for accountants to what we call

     16       clean up a client's books.       They will provide us with the

     17       QuickBooks files and the underlying documentation that I would

     18       request, and just as an example, I would compare an asset

     19       account, say, some investment, to a balance shown on an

12:19 20      underlying document.      And if there was a discrepancy between

     21       the two, I would record an adjustment so that the books matched

     22       the underlying documentation.

     23       Q.     Is that what you mean when you say you clean up the books?

     24       A.     Yes.

     25       Q.     And I take it "clean up" is not a negative concept, it's
           Case 1:19-cr-10080-LTS Document 2719-38 Filed 08/15/23 Page 6 of 22
                                                                                 122




      1       just putting in organizational order, it's not like there's

      2       something bad there?

      3       A.    Correct, correct.

      4       Q.    When you refer to QuickBooks, is that where the general

      5       ledger is located?

      6       A.    Yes.

      7       Q.    Do you want to explain what a general ledger is?

      8       A.    A general ledger is a document that lists all of a

      9       company's transactions for the year.

12:19 10      Q.    And when you do this cleaning up the books, would Debbie

     11       get involved at all to assist you with it?

     12       A.    Yes, she would.

     13       Q.    What would she do?

     14       A.    She would generally answer questions that I had with

     15       regard to certain transactions and then provide me with

     16       additional documentation or clarification.

     17       Q.    And how common is it that you provide that service to a

     18       client of cleaning up the books at year end or, you know,

     19       adjusting the books?

12:20 20      A.    It's very common.     I -- almost every business client I

     21       perform that service for.

     22       Q.    In the eight years that you worked with HPC, did you ever

     23       observe Debbie Rogers try to withhold information from you?

     24       A.    Not that I remember.

     25       Q.    Or John Wilson?
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      1       A.    No.

      2       Q.    Did they follow your advice?

      3       A.    Not always.

      4       Q.    When they didn't follow your advice, did it involve an

      5       ethical issue or was it just a business decision?

      6       A.    I don't recall a specific example of when they didn't

      7       follow my advice, but it's common to have give and take between

      8       client and CPA.

      9       Q.    Okay.   You never had to refuse to sign a return for them,

12:21 10      correct?

     11       A.    Correct.

     12       Q.    And that's a sign when a CPA finds there's an ethical

     13       problem, correct?

     14       A.    If they wouldn't sign the return?

     15       Q.    Yes.

     16       A.    Yeah, I'm not sure I would characterize it as an ethical

     17       problem --

     18       Q.    But a difference of opinion that was important to the CPA.

     19       You never had that is my point.

12:21 20      A.    Correct.

     21       Q.    Okay.   Now, if we could put up Exhibit 646, which the

     22       government just showed you.       That's the -- that's your sort of

     23       standard retention letter, fair to say?

     24       A.    Yes, engagement letter.

     25       Q.    It's the type you use with many clients?
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      1       it in front of the witness to refresh his memory if that's what

      2       you're trying to do, but the document itself will not be

      3       admitted.

      4                    MR. KENDALL:   Okay.

      5       BY MR. KENDALL:

      6       Q.    Does this document refresh you that in 2013 you were

      7       working with Debbie on this issue of getting the charitable

      8       donations aligned so that the receipt and the account where it

      9       came from were aligned, whether it would be John or the sub S

12:34 10      corporation?

     11       A.    Yes.

     12       Q.    If you have your own way to describe that process, it

     13       might be clearer than what I'm using, if you want to phrase it

     14       in your own words.

     15       A.    As I stated before, I would like to see the underlying

     16       documentation match the expend -- match the expenditure on the

     17       books.   So if Hyannisport Capital made a contribution from its

     18       bank account, I would like to see their name on the charitable

     19       contribution receipt.

12:34 20      Q.    The -- what you described earlier was the process of

     21       cleaning up the books or getting the accounting cleaned up, did

     22       that sometimes involve the charitable contributions?

     23       A.    I'm sorry, excuse me?

     24       Q.    You discussed earlier the service you provided of getting

     25       the accounting entries in order and correcting and updating
           Case 1:19-cr-10080-LTS Document 2719-38 Filed 08/15/23 Page 9 of 22
                                                                                   133




      1       them from what Debbie had done.

      2       A.    Right.

      3       Q.    And you did that on an annual basis for HPC as well as

      4       other clients.

      5       A.    Yes.

      6       Q.    Okay.    Did that also involve doing those tasks for the

      7       charitable contributions?

      8       A.    Those were things I noted and brought up to Debbie's

      9       attention.

12:35 10      Q.    And would she have to go get the paperwork from the

     11       charitable contributions to give to you to finish the

     12       correcting of the accounting detail?

     13       A.    Yes, that did happen.

     14                    MR. KENDALL:   I'd like to show you a copy of Exhibit

     15       9779 for the witness only.

     16       Q.    Is this an e-mail that you recognize?

     17       A.    Yes.

     18       Q.    Okay.    And does this deal with running down the charitable

     19       receipts?

12:36 20      A.    I believe so.

     21                    MR. KENDALL:   Your Honor, I'd like to offer this into

     22       evidence.

     23                    MS. KEARNEY:   Same objection, your Honor.

     24                    THE COURT:   The objection is sustained.      Again, it can

     25       be used to refresh memory.
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      1    BY MR. KENDALL:

      2    Q.      Does that refresh your memory that in September of 2013,

      3    Debbie for that year's tax returns was running down charitable

      4    receipts so you could clean up the books as you've described?

      5    A.      Yes.    It was not necessarily cleaning up the books as it

      6    was having proper documentation in the work papers.

      7    Q.      Now, in fact, when you were first retained, you had to do

      8    this process of cleaning up all of the books and transactions

      9    for years prior to when were you engaged.         Do you remember

12:37 10   doing a multiyear cleanup for HPC?

     11    A.      Yes, for certain accounts on the books.      But that was not

     12    something that I was hired to do at the inception of my

     13    relationship.       It came upon later.

     14    Q.      Do you remember finishing it in early 2015?

     15    A.      I don't know the exact date, but that could very well be.

     16    Q.      Okay.    Now, in preparing the 2014 tax returns, do you

     17    remember there was problems with the receipts for some of the

     18    charitable contributions?

     19    A.      I believe there was.

12:38 20   Q.      Okay.    I'd like to show you -- the witness only -- Exhibit

     21    9783.

     22                   If you could take a look at that, please.

     23    A.      I don't see anything on the screen.

     24                   MR. KENDALL:   Why don't we give a copy to the witness

     25    as well so he can look through the entire thing.
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      1                For the $100,000 donation listed to The Key

      2    Foundation, when you saw that, did you do anything in

      3    particular?

      4    A.   I read the document, and I was not familiar with that

      5    organization, so I looked it up on the -- there is an IRS

      6    website that lists 501(c)(3) organizations.         And I looked -- I

      7    looked it up and recall finding it there.

      8    Q.   You found The Key Foundation on the IRS website.              And what

      9    was the purpose of you looking it up?

12:42 10   A.   To ensure that it had been -- or it was in the process of

     11    being approved by the IRS.

     12    Q.   And so, therefore, it was authorized to take charitable

     13    contributions?

     14    A.   Yes.

     15    Q.   Okay.

     16                MR. KENDALL:   Could we show the witness what's already

     17    in evidence Exhibit 126, please?

     18                If we could show him page 2.

     19    Q.   Would it be fair to say that the standard practice was for

12:42 20   Debbie to send you copies of the receipts for charitable

     21    contributions?

     22    A.   Yes.

     23    Q.   Okay.    Did you ever get this one?

     24                MS. KEARNEY:   Objection, your Honor, to the

     25    characterization of this as a receipt.
       Case 1:19-cr-10080-LTS Document 2719-38 Filed 08/15/23 Page 12 of 22
                                                                              138




      1                THE COURT:   Yes, sustained.

      2                MR. KENDALL:   I'll rephrase, your Honor.

      3    BY MR. KENDALL:

      4    Q.   Did you ever get a copy of the letter that's Exhibit 126?

      5    A.   I did not.

      6    Q.   Okay.    It says, "Thank you for your generous gift to USC

      7    athletic men's water polo in the amount of $100,000.

      8    Maintaining state-of-the-art facilities is an essential part of

      9    USC's commitment to excellence.       Through your contribution, you

12:43 10   are helping the University achieve this important goal.

     11                "On behalf of the young student athletes that will

     12    benefit from your anonymous gift, thank you.

     13                "Fight on!

     14                "Ron Orr."

     15                Was it your practice if you received gift notices or

     16    documents referring to gifts or contributions in the range of

     17    $100,000 you would look at them in the accounting books and

     18    check them?

     19    A.   Yes.

12:43 20   Q.   And if you had found this and found that had it been

     21    booked as a business consulting instead of a charitable

     22    contribution, would you have raised it with Debbie?

     23    A.   Yes.

     24    Q.   And because you never got this letter, you never had the

     25    reminder to raise it with Debbie, fair to say?
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                                                                              139




      1    A.   Yes.

      2    Q.   Okay.

      3                I'd like to show you next Exhibit 9776.

      4                Do you recognize that document?

      5                MR. KENDALL:   For the witness only.

      6    A.   I do.

      7    Q.   And what is it?

      8    A.   These are my notes that I make while preparing the books

      9    and tax return for Hyannisport Capital.

12:44 10               MR. KENDALL:   I'd like to offer this into evidence,

     11    your Honor.

     12                MS. KEARNEY:   No objection.

     13                THE COURT:   It will be admitted without objection.

     14                (Exhibit 9776 received into evidence.)

     15                MR. KENDALL:   If we could show the jury Exhibit 9976.

     16    BY MR. KENDALL:

     17    Q.   I take it it's your handwriting?

     18    A.   Yes, it is.

     19    Q.   Did they teach you in CPA school to have such fine, small

12:45 20   handwriting?

     21    A.   No, it came to me somehow.

     22    Q.   And is this a list of tasks that you made for yourself to

     23    follow up on after looking at the books and records that had

     24    been sent over to you by Debbie?

     25    A.   That's correct.
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      1    on your taxes because you need all the numbers at year end to

      2    do the calculation, correct?

      3                  MS. KEARNEY:    Objection as to what someone could

      4    predict.

      5                  THE COURT:   Yes, that part is sustained.

      6    BY MR. KENDALL:

      7    Q.      In order to calculate if you could have had any positive

      8    impact by putting a charitable contribution as a business

      9    deduction, what numbers would you need to do the calculation?

12:53 10   A.      What impact it would have on the individual return?

     11    Q.      Yes, on the person's 1040.

     12    A.      You would need all items of income and deductions for that

     13    year.

     14    Q.      And are those numbers available in March of 2014?

     15    A.      No.

     16    Q.      Okay.   I'd like to go to in the same exhibit to Bates --

     17    the Bates number ending 3407.

     18                  It's a long exhibit.

     19                  3407, please.

12:54 20                 Perfect.

     21                  Okay.

     22                  Could you tell us what is this "W-1"?

     23                  I take it that's your handwriting.

     24    A.      Yes, that's just a reference number, a sequence number for

     25    the work papers.
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      1                   (Recess taken 1:02 p.m. to 2:05 p.m.)

      2                   THE CLERK:   Thank you.   You may be seated.   Court is

      3    now in session.

      4                   THE COURT:   Good afternoon, jurors.    We're ready to

      5    pick up again.

      6                   Mr. Nahmens, you're reminded that you remain under

      7    oath.

      8                   Mr. Kendall, you may continue with cross-examination.

      9                   MR. KENDALL:   Thank you, your Honor.

02:06 10   BY MR. KENDALL:

     11    Q.      Mr. Nahmens, I want to continue going through Exhibit 134,

     12    your work papers.       Just to clarify a couple of points, if you

     13    had gotten that thank you letter from USC at the time you were

     14    putting together these work papers, you would have raised it

     15    with Debbie, correct?

     16    A.      Would have raised?

     17    Q.      If you got that letter that said thank you for the

     18    $100,000, you would have said something to Debbie, correct, and

     19    to ask her to explain to you what it was for and figure out

02:06 20   what it was for?

     21    A.      Yes.

     22    Q.      Okay.    And would it be fair to say Debbie is the one who

     23    did all of the Quickbooks classifications?         John wasn't there

     24    putting in the entries to Quickbooks.

     25    A.      That's my understanding.
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                                                                                152




      1    Q.      Yeah.    And when you would send back corrections for the

      2    Quickbooks, you'd send them to Debbie for her to adopt,

      3    correct?

      4    A.      Yes.

      5    Q.      As a general practice for forwarding your paperwork and

      6    e-mails and receipts, that was Debbie, correct?

      7    A.      Mr. Wilson forwarded me e-mails as well, from time to

      8    time.

      9    Q.      Excuse me.    Let me take back e-mails.    Receipts,

02:07 10   documents, backup accounting detail.

     11    A.      Yes.

     12    Q.      That would be Debbie, correct?

     13    A.      Yes.

     14    Q.      John wasn't in Amsterdam at Staples headquarters e-mailing

     15    you a receipt for a $500,000 charitable contribution?

     16    A.      That's correct.

     17    Q.      I'd like to show you exhibit --

     18                   MR. KENDALL:   If we can put up Exhibit 118 for a

     19    minute.    It's already in evidence.

02:07 20   Q.      I want to show you -- this is an e-mail you've never

     21    received, but it's in evidence.        This is from Rick Singer, the

     22    man who got that $20,000 that you discussed doing the tax form

     23    for.

     24                   MR. KENDALL:   If we can go up to the middle of it.

     25    Q.      It says -- in the middle, we see Rick Singer, April 10th,
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      1    house, correct?

      2    A.   Not that I recall.

      3    Q.   Okay.    I want to now turn to the last page, I think we're

      4    going to cover in Exhibit 134.       Could we go to the bates ending

      5    in 3434.    It says "Hyannis Port Capital, Inc. Journal".

      6                MR. KENDALL:   If we could turn that around.       Thank

      7    you, Mr. Carter.

      8    Q.   What does this document show?

      9    A.   These are the journal entries that I made to, as we

02:15 10   discussed before, to clean up the books.

     11    Q.   These are corrections you're making in Debbie's entries or

     12    bookings of various transactions?

     13    A.   It's beyond that.      Some of them are corrections.          Some of

     14    them are entries to record transactions that are more technical

     15    than would be recorded, you know, just recording transactions

     16    from a bank account or a credit card.

     17    Q.   Okay.    If we could go to the next page, 2, these are more

     18    of those corrections we just discussed?

     19    A.   Yes, corrections and original entries.

02:16 20   Q.   Okay.    If I were to suggest to you they count up to about

     21    61 lines in those two pages, would that seem reasonable to you?

     22    A.   Well, that seems somewhat close.

     23    Q.   And are these the type of corrections or additional

     24    entries you would recommend each year?

     25    A.   Yes.    They -- they tend to be similar from year to year.
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      1    Q.   And if you had discovered that they had booked a -- they

      2    had booked a charitable deduction mistakenly as a business

      3    deduction, would that have been sort of reclassified in these

      4    pages?

      5    A.   Most likely.

      6    Q.   If we can take a look at Exhibit 164.         I'm not sure if

      7    that's -- maybe we don't need an exhibit.

      8                 Who would you send the tax returns to, to Debbie,

      9    didn't you?

02:17 10   A.   For signature?

     11    Q.   Yes.

     12    A.   Yes.

     13    Q.   Okay.    And then she'd arrange it with John to get it done?

     14    A.   To sign and e-file.

     15    Q.   Sign and take care of them.

     16                 Now, the last thing I want to cover with you, it's

     17    only going to take us a couple of minutes is, in 2018, John

     18    contacted you about the million dollars he was donating to the

     19    Key Foundation, correct?

02:17 20   A.   It was either John or Debbie contacted me.

     21    Q.   Yeah.    But they e-mailed you wanting your tax advice and

     22    then that issue was really referred over to Mr. DeMaio,

     23    correct?

     24    A.   They didn't want my tax advice about the contribution

     25    itself.    It was, I believe -- if I remember correctly, it was a
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      1    A.   An acknowledgment would follow a payment.

      2    Q.   And you -- the document that Miss Kearney just showed you

      3    is Mr. Wilson saying, consulting or whatever, correct?

      4    A.   That's what that document said.

      5    Q.   He's indifferent, consulting or whatever.          He needs a

      6    receipt for Debbie to make the transfer, correct?

      7              MS. KEARNEY:    Objection, your Honor, as to what

      8    Mr. Wilson.

      9              THE COURT:    Sustained.

02:37 10   Q.   The language he uses is "consulting or whatever", correct?

     11    A.   That's what was on that e-mail.

     12    Q.   And it gives an invoice just so Debbie knows where to send

     13    the $100,000, correct?

     14    A.   Was it $100,000 or?

     15    Q.   It was $100,000 even.

     16    A.   Okay.

     17    Q.   And then, a few months later, USC sends a thank you note

     18    for the donation, correct?      That was the letter I showed you.

     19    It came in July.

02:37 20   A.   You did show that to me.

     21    Q.   And then, if you, yourself, checked the IRS website to

     22    make sure that The Key Foundation was a recognized certified

     23    charity, correct?

     24    A.   I did.

     25    Q.   And if the head of an IRS approved and certified charity
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      1    says, can you make another $20,000 contribution to cover the

      2    expenses of the foundation, that, too, can be a charitable

      3    donation, correct?

      4                MS. KEARNEY:   Objection, your Honor.      It's assuming

      5    facts not in evidence.

      6                THE COURT:   Sustained.

      7    Q.   A $20,000 donation to cover the expenses of an IRS

      8    approved charity is also a donation, correct?

      9    A.   Assuming it makes -- it meets IRS standards.

02:38 10   Q.   And if you do it as a cash contribution, or as a noncash

     11    contribution, they're both tax deductible, correct?

     12    A.   Yes.

     13    Q.   And a cash contribution would be to, say, to the charity,

     14    here's $20,000, I'm donating it to the charity.          That's a cash

     15    contribution, correct?

     16    A.   Right.

     17    Q.   And if you also go to the head of the foundation and say,

     18    here's $20,000 to cover the expenses, I assume you'll take care

     19    of it to pay the bookkeeper, to pay whatever, that could be a

02:39 20   non-cash contribution, correct?

     21                MS. KEARNEY:   Objection.    Misstates the evidence.

     22                THE COURT:   Sustained.

     23    Q.   A $20,000 payment to the head of a foundation to buy

     24    resources, you know, personnel, supplies, whatever, for the

     25    expenses of the foundation can be a non-cash contribution,
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      1    correct?

      2    A.   A payment to the head of the organization, or a payment to

      3    the organization?

      4    Q.   If you give the head of the organization $20,000 to go out

      5    and buy the -- to go out and buy the resources for the place.

      6    We don't have a car.       We don't have paper.    We don't have

      7    computers.    I'll pay for the computers for the foundation.

      8    Here's the cash.    Go get them.

      9                MS. KEARNEY:    Objection.

02:40 10   Q.   That's a non-cash contribution?

     11                THE COURT:   If he understands it as an expert in that

     12    area, I'll allow him to answer.

     13    Q.   That's a non-cash contribution, correct?

     14    A.   You're saying a payment to the head of an organization?

     15    Q.   No.     Let me correct it.    If the person says, I will pay

     16    for the computers of the organization, I'll pay for the

     17    secretarial help, here is the money, you can go buy them with

     18    my money and it's my contribution to the organization, I'm

     19    paying for the expenses of the organization, can that be a

02:40 20   contribution?

     21    A.   By making a charitable contribution to the organization.

     22    Q.   Yes.    Fair enough.

     23                 And all the documents you had about the $20,000 to

     24    Mr. Singer and requiring tax stuff, that was all e-mails for

     25    Debbie Rogers.    It wasn't with John Wilson, correct?
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 1   C E R T I F I C A T E

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 4   UNITED STATES DISTRICT COURT )

 5   DISTRICT OF MASSACHUSETTS        )

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 8              We, Kristin M. Kelley and Debra Joyce, certify that

 9   the foregoing is a correct transcript from the record of

10   proceedings taken September 27, 2021 in the above-entitled

11   matter to the best of our skill and ability.

12

13

14        /s/ Kristin M. Kelley                       September 27, 2021

15        /s/ Debra Joyce                             September 27, 2021

16        Kristin M. Kelley, RPR, CRR                    Date
          Debra Joyce, RMR, CRR
17        Official Court Reporter

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